              Case 1:23-cv-00745-DII Document 9 Filed 08/31/23 Page 1 of 4



                            UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 ELIJAH N. WALKER,

       Plaintiff,
                                                            Case No. 1:23-cv-00745- DII
 v.

 PHOENIX LAW PC,

       Defendant.


                PLAINTIFF’S MOTION FOR DEFAULT JUDGMENTAGAINST
                                 PHOENIX LAW PC

      NOW comes ELIJAH N. WALKER (“Plaintiff”), by and through his attorneys, Sulaiman Law

Group, Ltd. (“Sulaiman”) and pursuant to Rule 55(b)(2) of the Federal Rules of Civil Procedure,

requesting that this Honorable Court enter a Default Judgment against PHOENIX LAW PC

(“Defendant”) and in support thereof, stating as follows:

      1. On June 30, 2023, Plaintiff filed his Complaint for Relief Pursuant to the Credit Repair

Organization Act (“CROA”), Texas Credit Services Organization Act, and the Texas Consumer

Debt Management Services Act against the Defendant.

      2. On July 12, 2023, a process server named Jenice Rossner served Defendant’s employee,

who is authorized to accept service on Defendant’s behalf, with a copy of summons and complaint.

[Dkt. No. 6].

      3. On August 3, 2023, Defendant’s time to answer or otherwise plead elapsed.

      4. On August 9, 2023, after Defendant failed to answer or otherwise plead, Plaintiff caused

to be filed a Motion for Entry of Default. Attached to the Motion for Entry of Default was an

affidavit signed by the undersigned counsel attesting that service had properly been effectuated



                                                 1
           Case 1:23-cv-00745-DII Document 9 Filed 08/31/23 Page 2 of 4



and Defendant was not in member of a protected category. A copy of Plaintiff’s Motion for Entry

of Default was mailed to Defendant.

   5. On August 10, 2023, this Honorable Court granted an Entry of Default against Defendant.

[Dkt. No. 8].

   6. Having gained an Entry of Default against Defendant, Plaintiff now moves this Honorable

Court to enter a Default Judgment on a Sum Certain against Defendant and in favor of Plaintiff.

   7. Defendant is aware of the instant proceedings and has willfully chosen not to enter the case

despite proper service.

   8.    Plaintiff seeks statutory damages pursuant to 15 U.S.C. § 1679g(a)(1) and payment of

him costs and reasonable attorney fees pursuant to 15 U.S.C. § 1679g(a)(3), Tex. Fin. Code §§

393.503(a)(2)-(3), and Tex. Fin. Code § 394.215(c).

                                             DAMAGES

   9.    CROA prohibits “any person” from engaging “directly or indirectly, in any act, practice,

or course of business that constitutes or results in the commission of, or an attempt to commit, a

fraud or deception on any person in connection with the offer or sale of the services of the credit

repair organization.” 15 U.S.C. § 1679b(a)(4). Defendant directly and indirectly engaged in a

course of business that, at the very least, constituted the attempt to commit a fraud or deception on

Plaintiff given Defendant’s role in being transferred the accounts from LPG following LPG’s

complete failure to perform any of the services in exchange for Plaintiff’s exorbitant payments so

as to continue perpetuating the fraud engaged in by LPG.

   10. Pursuant to 15 U.S.C. § 1679g, “[a]ny person who fails to comply with any provision of

[the CROA] with respect to any other person shall be liable to such person in an amount equal to

the sum of” certain damages, which include “any amount paid by the person to the credit repair

organization.” 15 U.S.C. § 1679g(a)(1)(B) (emphasis added). Defendant was a person who

                                                 2
           Case 1:23-cv-00745-DII Document 9 Filed 08/31/23 Page 3 of 4



violated the CROA given its role in perpetuating LPG’s fraud, and LPG would be considered “the

credit repair organization” as contemplated by 15 U.S.C. § 1679g(a)(1)(B). Therefore, because

Defendant is a person, who violated the CROA, Defendant is liable for the amount Plaintiff paid

to LPG – which totaled $8,806.43.

   11. Plaintiff seeks damages under the CROA, Texas Credit Services Organization Act, and the

Texas Consumer Debt Management Services Act of $8,806.43. As discussed above, Defendant’s

connection to the fraud perpetuated by LPG renders it liable for the amounts Plaintiff paid to LPG

under the CROA, and Plaintiff made 29 payments of $303.67 for a total of $8,806.43. See Exhibit

A – Contract with Defendant; Payment History as of September 2020; and, [Dkt. No. 1, ¶ 10].

   14. Defendant has clearly demonstrated a lack of respect for the law and legal process. It has

had notice of this lawsuit. Rather than avail itself of the legal process, Defendant has willfully

chosen not to participate and as such has waived its right to be given any benefit by this Honorable

Court.

                                    ATTORNEY FEES AND COSTS

   15. Plaintiff seeks $2,681.30 in reasonable attorney fees and costs pursuant to 15 U.S.C.

§1692k(a)(3). See attached Exhibit B a true and correct itemization of Plaintiff’s reasonable

attorney fees and costs and attached Exhibit C a true and correct copy of an affidavit endorsed by

the undersigned.

   WHEREFORE, Plaintiff ELIJAH N. WALKER, respectfully requests that this Honorable

Court enter judgment in him favor as follows:

   a. Entering a Default Judgment against Defendant and in favor of Plaintiff;

   b. Awarding Plaintiff actual damages of $8,806.43 pursuant to 15 U.S.C. § 1679g(a)(1), Tex.
      Fin. Code § 393.503(a)(1), and Tex. Fin. Code § 394.215(c) against Defendant and in favor
      of Plaintiff;



                                                 3
           Case 1:23-cv-00745-DII Document 9 Filed 08/31/23 Page 4 of 4



   c. Awarding Plaintiff $2,681.30 in costs and reasonable attorney fees pursuant to 15 U.S.C.
      § 1679g(a)(3), Tex. Fin. Code §§ 393.503(a)(2)-(3), and Tex. Fin. Code § 394.215(c),
      against Defendant and in favor of Plaintiff;

   d. Allowing judgment interest to be added; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.


Dated: August 31, 2023                        Respectfully submitted,

                                              /s/ Nathan C. Volheim
                                              Nathan C. Volheim
                                              Counsel for Plaintiff
                                              Sulaiman Law Group, Ltd.
                                              2500 Highland Avenue, Suite 200
                                              Lombard, Illinois 60148
                                              (630) 568-3056 (phone)
                                              (630) 575-8188 (fax)
                                              nvolheim@sulaimanlaw.com

                                 CERTIFICATE OF SERVICE

       The undersigned, one of the attorneys for Plaintiff, certifies that August 11, 2023, he caused
a copy of the foregoing PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT AGAINST
PHOENIX LAW PC, to be served by U.S. Priority Mail on:

                                        Phoenix Law PC
                                       6080 Center Drive
                                           6th Floor
                                     Los Angeles, CA 90045

                                        Phoenix Law PC
                                      c/o Registered Agent
                                  Lawyers Incorporating Service
                                    2710 Gateway Oaks Drive
                                     Sacramento, CA 95833

                                                      s/ Nathan C. Volheim
                                                      Nathan C. Volheim




                                                 4
